Case 1:23-cv-03107-TWT Document 53-5 Filed 11/03/23 Page 1 of 11




           EXHIBIT E
Case 1:23-cv-03107-TWT Document 53-5 Filed 11/03/23 Page 2 of 11
Case 1:23-cv-03107-TWT Document 53-5 Filed 11/03/23 Page 3 of 11
Case 1:23-cv-03107-TWT Document 53-5 Filed 11/03/23 Page 4 of 11
Case 1:23-cv-03107-TWT Document 53-5 Filed 11/03/23 Page 5 of 11
Case 1:23-cv-03107-TWT Document 53-5 Filed 11/03/23 Page 6 of 11
Case 1:23-cv-03107-TWT Document 53-5 Filed 11/03/23 Page 7 of 11
Case 1:23-cv-03107-TWT Document 53-5 Filed 11/03/23 Page 8 of 11
Case 1:23-cv-03107-TWT Document 53-5 Filed 11/03/23 Page 9 of 11
Case 1:23-cv-03107-TWT Document 53-5 Filed 11/03/23 Page 10 of 11
Case 1:23-cv-03107-TWT Document 53-5 Filed 11/03/23 Page 11 of 11
